Case 17-30759-KKS Doc 28 Filed 10/17/17 Page 1 of 7

UN|TED STATES BANKRUPTCY COURT
NORTHERN DlSTRICT OF FLORIDA

PENSACOLA D|V|SlON
|N RE: CASE NO 17-30759-KKS
PATEL, PANKAJ L Chapter: 7
PATEL, JYOT|BEN H,
DEBTOR(S).

I

M)T|C§ OF |NTENT TO SELL PROPERTY OF THE ESTATE
TO: Debtor(s), Creditors, and Parties in lnterest

 

 

 

NOT|CE OF OPPORTUN|TY TO
OBJECT AND REQUEST FOR HEAR|NG

Pursuant to Local Ru|e 2002-2, the Court will consider the relief
requested in`this paper without further notice or hearing unless a party in
interest files a response within twenty-one (21) days from the date set forth
on the proof .of service plus an additional three days for service if any party
was served b'y U.S. lVlai|, or such other period as may be specified in Fed. R.
Bankr.P. 9006(f).

|f you object to the relief requested in this paper, you must tile an
objection or response electronically with the Clerk of the Court or by mail at
110 E. Park Avenue, Suite 100, Tal|ahassee, FL 32301, and serve a copy
on the Trustee, I\/lary W. Colc')n, Trustee, P. O. Box 14596, Tal|ahassee, FL
32317, and any other appropriate person within the time allowed. |f you file
and serve a response within the time permitted, the Court will either
schedule and notify you of a hearing or consider the response and grant or
deny the relief requested without a hearing.

|f you do not file a response within the time permitted, the Court will
consider that you do not oppose the relief request in the paper, will proceed
to consider the paper without further notice or hearing, and may grant the
relief requested.

 

Page 1 of 3

 

Case 17-30759-KKS Doc 28 Filed 10/17/17 Page 2 of 7

NOT|CE |S HEREBY G|VEN that the trustee/dethr-in-possession intends
to sell the following property of the estate of the debtor(s), under the terms
and conditions set forth below.

1. Description of property:
Equity interest in 2005 ($2,550); Debit:EBTFood stamps ($199).

2. l\/|anner of Sa|e: Private( X )* Public Auction( )

3. Terms of Sa|e: (include purchaser, if known, price, price terms, whether
or not sale is free and clear of |iens, names and addresses of lienors,
and all other pertinent information)

Private sale to PANKAJ L PATEL and JYOT|BEN H PATEL of property
identified above for a total of $2,749.00 payable at the rate of $229.09
per month for twelve (12) consecutive months with the first payment due
on November 15, 2017. Payment shall be made to lVlary W. Co|<')nl
Trustee, P. O. Box 14596, Tal|ahassee, FL 32317. This sale is “as is”,
"where is" with no warranties expressed or implied. The sale is subject
to any scheduled, known or unknown |iens, encumbrances, and
exemptions; and the Purchase(s) is/are responsible for all payments to
Lien Holders, Tax Assessors, etc.

*The purchase price(s) was/were established by review of the schedules
and any additional documents or testimony provided by parties, negotiated
in good faith, and based on the principles of best business judgment

*(Applicable to private sales on|y) The trustee will entertain any higher bids
for the purchase of the assets of the debtor(s) which the trustee proposes
to se||. Such bids must be in excess of $200.00 more than the original bid
and must be,in writing and accompanied by a deposit of 20% of the
proposed hig'her purchase price, Any higher bid must be received (with the
applicable deposit) by the trustee at the address listed below no later than
the close of business 15 days from the date of this Notice.

Page 2 of 3

Case 17-30759-KKS Doc 28 Filed 10/17/17 Page 3 of 7

NOT|C_E IS HEREBY GIVEN that all objections to the same must
state the basis for the objection. |f no objection is filed, the sale described
above will take place.

DATED: October 17 2017 lS/ lVlary W. Co|on

 

 

ileRY w. coLoN

Chapter 7 Trustee

Smith, Thompsonl Shaw, et al
P. O. Box 14596

Tal|ahassee, FL 32317
Te|ephone No.: (850) 241-0144
Facsimi|e: (850) 702-0735
Florida Bar No. 0184012
trustee@marvco|on.com

_c_ERTlFchTE oF§£vac§

l HEREBY CERT|FY THAT A TRUE AND CORRECT COPY OF THE
FOREGO|NG has been furnished by first class U.S. lV|ai| with postage
prepaid to all persons on the Court’s mailing matrix by BK Attorney
Services, LLC d/b/a certificateofservice.com on October 17, 2017.

§/ lVlary W. Co|c')n
MARY w. coLoN

Page 3 of 3

Case 17-30759-KKS Doc 28 Filed 10/17/17 Page 4 of 7

UN|TED STATES BANKRUPTCY COURT
NORTHERN DlSTRlCT OF FLOR|DA

lN RE: PATELl PANKAJ L CASE NO: 17-30759-KKS

PATEL» JYOT'BEN H DEcLARATloN oF MAIL\NG
cERTlFchTE oF sEvacE

Chapter". 7

ECF Docket Reference No.
Judge:

Hearing Location:

Hearing Date:

Hearing Time:

Response Date:

 

 

On 10/17/2017l l did cause a copy of the following documents, described below,
Trustee's Report and Notice of lntention to Se|| Property of the Estate at Auction,
Notice of lntent to Se|| Property of the Estate

to be served for delivery by the United States Postal Service, via First C|ass United States lV|ai|, postage prepaidl with
sufficient postage thereon to the parties listed on the mailing matrix exhibit, a copy of which is attached hereto and
incorporated as if fully set forth herein.

l caused these documents to be served by utilizing the services of BK Attorney Services, LLC d/b/a certificateofservice.com
an Approved Bankruptcy Notice Provider authorized by the United States Courts Administrative Offlce, pursuant to Fed.R.

Bankr.P. 9001(9) and 2002(9)(4). A copy of the declaration of service is attached hereto and incorporated as if fully set forth
herein.

Parties who are participants in the Courts E|ectronic Noticing System ("NEF"), if any, were denoted as having been served
electronically witih the documents described herein per the ECF/PACER system.

DATED: 10/17/2017

LSLMBBL.W.§_QLQ.D
lVlary W. Co|on 0184012

lVlary W. Co|onl Trustee
P 0 Box 14596
Tal|ahassee, FL 32317
850 893 4105
janet@marycolon.com

Case 17-30759-KKS Doc 28 Filed 10/17/17 Page 5 of 7

UN|TED STATES BANKRUPTCY COURT
NORTHERN DlSTRICT OF FLOR|DA

IN RE: PATEL, PANKAJ L CASE NO: 17-30759-KKS

PATEL JYOT'BEN H cERTlFchTE oF sEvacE
DEcLARATroN oi= MArLlNc

Chapter: 7

ECF Docket Reference No.
Judge:

Hearing Location:

Hearing Date:

Hearing Time:

Response Date:

 

On 10/17/2017, a copy of the following documents, described below.
Trustee's Report and Notice of intention to Sel| Property of the Estate at Auction,
Notice of intent to Sell Property of the Estate

were deposited for delivery by the United States Postal Service, via First Class United States lVlai|. postage prepaid. with sufficient
postage thereon to the parties listed on the mailing matrix exhibit, a copy of which is attached hereto and incorporated as if fully set forth

herein.
The undersigned does hereby declare under penalty of perjury of the laws of the United States that l have served the above referenced

document(s) on the mailing list attached hereto in the manner shown and prepared the Dec|aration of Certihcate of Service and that it is
true and correct to the best of my knowledge. information, and belief.

DATED: 10/17/2017

D_

Jay S. Jurnp

BK Attorney Services, LLC

d/b/a certificateofservice.com for
Mary W. Co|on, Trustee

Mary W. Co|on

P 0 Box 14596

Tal|ahassee, FL 32317

 

Case 17-30759-KKS Doc 28 Filed 10/17/17 Page 6 of 7

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1IVN SSV1D lSHId SdSG VIA OHAHES LON HHBM uHGHTDXHu SV UELVNDISHG SSILHVH

Case 17-30759-KKS Doc 28 Filed 10/17/17 Page 7 of 7

PARTIES DESIGNATED AS "EXCLUDE" WERE NOT SERVED VIA USPS FIRST CLASS MAIL
PARTIES WITH A '+' AND DBSIGNATED AS "CM/ECF E-SERVICE" RECEIVED ELECTRONIC NOTICE THROUGH THE CM/ECF SYSTEM

25 UNITED STATES ATTORNEYS OFFICE 29 UNITED STATES DISTRICT COURT 30 UNITED STATES TRUSTEE
NORTHERN DISTRICT OF FLQRIDA NORTHERN DISTRICT OF FLORIDA 110 E PARK AVENUE
FENSACOLA DIVISION l N PALAFOX ST SUITE 123

21 E GARDEN ST STE 400 14-CV-00565-RV-CJK TALLAHASSEE FL 32301-7728
PENSACOLA FL 32502-5675 PENSACOLA FL 32502-5665

31 WHITNEY BANK A MISSISSIPPI STATE 32 JYOTIBEN H PATEL 33 MARTIN S LEWIS
CHARTERED BANK FORMERLY KNOWN AS 8837 HWY 87 SOUTH LEWIS JURNOVOY PA
HANCOCK BANK MILTON FL 32583-7530 1100 NORTH PALAFOX ST
2510 14TH ST PENSACOLA FL 32501-2608

GULFPORT MS 39501-1948

DEBTOR
34 MARY W COLON 35 PANKAJ L PATEL 36 STEVEN D JURNOVOY
PO BOX 14596 3037 HWY 87 SOUTH LEWIS JURNOVOY PA
TALLAHASSEE FL 32317-4596 MILTON FL 32583-7530 1100 NORTH PALAFOX STREET

PENSACOLA FL 32501-2608

